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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                        :
UNITED STATES OF AMERICA:                        Case No: ____________
                        :
                        :                        18 U.S.C. §1512(c)(2)
                        :                        (Obstruction of Congressional Proceeding)
                        :
    v.                  :                        18 U.S.C. §§ 1752(a)(1) and (a)(2)
                        :                        (Unlawful Entry)
MATTHEW EUGENE LOGANBILL:
                        :                        18 U.S.C. § 2(a)
    Defendant.          :                        (Aiding and Abetting)
                        :
                        :                        40 U.S.C. §§ 5104(e)(2)(D) and 5104(e)(2)(G)
                                                 (Violent Entry or Disorderly Conduct)

                                                 UNDER SEAL

                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                            AND ARREST WARRANT

      I, Michael D. Brown being first duly sworn, hereby depose and state as follows:

                                  PURPOSE OF AFFIDAVIT

       1.       This Affidavit is submitted in support of a Criminal Complaint charging

MATTHEW EUGENE LOGANBILL (“LOGANBILL”) with violations of 18 U.S.C. §1512(c)(2)

(Obstruction of a Congressional Proceeding); §§ 1752(a)(1), (a)(2) (Unlawful Entry), 40 U.S.C. §

5104(e)(2)(D) and 5104(e)(2)(G) (Violent Entry or Disorderly Conduct) and 18 U.S.C. § 2(a), as

identified below.

       2.       I respectfully submit that this Affidavit establishes probable cause to believe that

LOGANBILL, as a principal and an aider and abettor, violated:

            a. 18 U.S.C. §1512(c)(2) by corruptly interfering with, obstructing, and attempting to

               do the same, of an official proceeding, that is the Joint Session of Congress to count

               the electors for the Electoral College;


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            b. 18 U.S.C. § 1752(a)(1) and (2) by (1) knowingly entering or remaining in any

               restricted building or grounds without lawful authority to do; and (2) knowingly, and

               with intent to impeding or disrupting the orderly conduct of Government business

               or official functions, engaging in disorderly or disruptive conduct in, or within such

               proximity to, any restricted building or grounds when, or so that, such conduct, in

               fact, impedes or disrupts the orderly conduct of Government business or official

               functions; For purposes of Section 1752 of Title 18, a “restricted building” includes

               a posted, cordoned off, or otherwise restricted area of a building or grounds where

               the President or other person protected by the Secret Service, including the Vice

               President, is or will be temporarily visiting; or any building or grounds so restricted

               in conjunction with an event designated as a special event of national significance;

               and,

            c. 40 U.S.C. § 5104(e)(2)(D) and (G), willfully and knowingly uttering loud,

               threatening, or abusive language, or engaging in disorderly or disruptive conduct at

               any place in the Capitol Grounds or in any of the Capitol Buildings with the intent

               to disrupt the orderly conduct of official business, and parading, demonstrating, or

               picketing in any of the Capitol Buildings.

                                BACKGROUND OF AFFIANT

       3.       I am a Special Agent with the Federal Bureau of Investigation (“FBI”). As such, I

am a “federal law enforcement officer” within the meaning of Federal Rule of Criminal Procedure

41(a)(2)(C), that is, a government agent engaged in enforcing the criminal laws and duly

authorized by the Attorney General to request an arrest warrant. I have served as a Special Agent

with the FBI since in or about 2012. I am currently assigned to a squad that investigates violent



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gang and drug criminal enterprises out of the Northern Virginia Resident Agency. Over the course

of my career, I have participated in a variety of criminal investigations and executed numerous

arrest warrants.

           4.      The facts and information contained in this affidavit are based upon my personal

knowledge, information obtained from state and federal law enforcement officers, and information

provided by cooperating codefendants. All observations not personally made by me were relayed

to me by the individuals who made them or are based on my review of reports, documents, and

other physical evidence obtained during the course of this investigation. This affidavit is intended

to show only that there is sufficient probable cause for the requested warrant and does not set forth

all of my knowledge about this matter. The dates listed in this Affidavit should be read as “on or

about” dates.

                     STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       A. Assault on the U.S. Capitol on January 6, 2021

           5.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

           6.      On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public. 1

           7.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States


       1
         Throughout this Affidavit, wherever I use the term “Capitol” I am referring to the U.S.
Capitol building.

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Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

        8.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior of

the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

        9.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        10.     At such time, the certification proceedings still underway and the exterior doors

and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol

Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly

after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.



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          11.   Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the

United States Congress, including the joint session, were effectively suspended until shortly after

8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to

the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 pm after the building had

been secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

          12.   During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

      B. Identification of LOGANBILL

          13.   LOGANBILL is a 55-year-old white male who lives in Versailles, Missouri.

LOGANBILL was initially brought to the attention of the FBI by two confidential witnesses, CW-

1 2 and CW-2 3, who stated that they saw posts on social media that LOGANBILL had participated

in the Capitol riots that occurred on January 6, 2021. LOGANBILL is a Federal Firearms dealer



      2
         CW-1 provided information to FBI via tip line. CS-1 has no criminal record and the
information provided by CS-1 has been corroborated through other sources.
      3
         CW-2 provided information to FBI via tip line. CS-2 has no criminal record and the
information provided by CS-2 has been corroborated through other sources.

                                                 5
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in Missouri and owner a firearms store by the name of Tooth and Nail Armory which is located at

in Gravois Mills, Missouri. The driver’s license and Facebook photograph of LOGANBILL were

obtained by law enforcement, and are consistent with one another. The Facebook photograph is

Image (1) below.




                            Image (1) (LOGANBILL)




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The FBI has identified LOGANBILL based on numerous pieces of information, including two FBI

tip line reports, information obtained from open source and government databases, and the

investigation described below.

       C. Interview of CW-1 and CW-2

        14.    On or about January 8, 2021, CW-1 reported to the FBI that an individual identified

as LOGANBILL might have been involved in the United States Capitol Building incident that

occurred on January 6, 2021. CW-1 noted that he/she was aware that LOGANBILL has been

making concerning on-line statements related to January 6, 2021. CW-1 described as a “hot head”

who had grown bitter over the last year because of the negative financial impact caused by the

COVID-19 pandemic. CW-1 provided the FBI with a screenshot image of comments made by

LOGANBILL (using the name “Tooth and Nail”) that indicated that LOGANBILL was involved

in the Capitol riots that can be seen in Image (2). Your affiant has reviewed the IP address for the

LOGANBILL post, and public inquiry searches have confirmed that that IP address to a physical

location         in        Alexandria,          VA          near         Washington,           D.C.




              Image (2) (Local Social Media Site Post by LOGANBILL)




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CW-1 stated that LOGANBILL was extremely immersed in the paramilitary lifestyle, viewed

himself as a patriot, and likely felt his actions at the Capitol on January 6, 2021, were justified.

           15.   On or about January 11, 2021, the FBI interviewed CW-2 who also provided a

report to the FBI. CW-2 indicated that he/she did not know LOGANBILL to be a member of any

subversive, violent groups, such as a militia or organized white supremacists. CW-2 provided two

images to the FBI that it indicated were from LOGANBILL’s Facebook account, that indicated

that LOGANBILL had attended the “Stop the Steal” protest at the United States Capitol Building

on January 6, 2021 that are shown in Images (3) and (4). The commentary associated with the

images in Images (3) and (4) indicated that the user of the account (identified as belonging to

LOGANBILL by CW-2) had “crawled under scaffolding and up those stairs, and into the

Capitol.” 4 Image(4) further shows images that your affiant is aware were taken from inside the




U.S. Capitol during the riot.


       4
        Your affiant is aware that in anticipation of the Inauguration the scaffolding was wrapped
with white canvas to create the appearance of a solid rise to a stage.

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                  Image (3)                                               Image (4)

        E. Interview of LOGANBILL

            16.   On January 13, 2021, LOGANBILL was interviewed by the FBI in Versailles,

Missouri. LOGANBILL admitted to traveling to Washington, D.C. to attend the “Stop the Steal”

rally/protest on January 6, 2021. LOGANBILL stated that he travelled by vehicle with like-

minded individuals whom he declined to identify. LOGANBILL said that the protest started at

the Ellipse before the crowd marched into the Capitol Building. LOGANBILL claimed he was

not aware of any preexisting plan or plot to attempt to storm the U.S. Capitol Building.

LOGANBILL stated he was accompanied to the U.S. Capitol by protesters who were retired

military veterans, but whom he declined to identify to the FBI. 5 LOGANBILL indicated that he

saw several protesters fighting with the police, and that he could see members of the group breach

the police line from his position in the crowd. LOGANBILL indicated that the police then fired

tear gas canisters into the crowd, but that the protesters continued to surge toward the police

apparently undeterred by the gas and the obvious efforts by law enforcement to hold the crowd

back.

            17.   LOGANBILL stated that he then ducked behind a storage container and donned a

gas mask and helmet that he had brought with him. He claimed he had brought these items to the

protest because he was fearful that Antifa would infiltrate the rally/protest. He then stated that

after he emerged from behind the storage container, the police skirmish line and barricades were

gone and he followed protesters and entered the U.S. Capitol through the doors that were near the

scaffolding he thought was erected for the inauguration. Although LOGANBILL acknowledged


        5
         Your affiant is aware that a large number of individuals who were associated with an
organized anti-government group, the “Oathkeepers,” participated in violent acts during the U.S.
Capitol on January 6, 2021. Your affiant understands that members of the Oathkeepers include a
large number of retired military veterans and law enforcement officers.

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the firing of tear gas at the crowd police before he entered the Capitol, LOGANBILL stated he did

not see any sign, nor did anyone tell him that he was entering a restricted area. LOGANBILL

admitted that the doors to the Capitol were lined by police officers, but he claimed that none of the

officers instructed him or others to depart. LOGANBILL said he did not see any police officers

arrest anyone on the premises, and that he did not observe any violence between protesters and

police, though he admitted the crowd literally pushed forward to enter the Capitol. LOGANBILL

added again that he did not personally damage any property, or participate in any acts of violence,

and he did not believe he had committed any crimes.

       18.     Contradicting his social media posts in which he said he had been in the Capitol for

between 30 and 45 minutes, LOGANBILL told FBI special agents that he was inside the U.S.

Capitol Building for approximately 10 to 15 minutes during which time he did not vandalize the

building or engage in any violence with law enforcement. LOGANBILL also stated he briefly

spoke with one of the officers at the U.S. Capitol and told the officer “we came peacefully this

time,” but that “it would be different if we have to come again,” or words to that effect.

      D. Other Evidence

       19.     On or about January 18, 2021, Magistrate Judge G. Michael Harvey of the U.S.

District Court for the District of Columbia approved of a search warrant of LOGANBILL’s

Facebook account (“Facebook Account”). A review of the return of that Facebook Account

confirmed LOGANBILL’s presence in the Capitol but also contradicted the version of events that

he relayed to the FBI during his interview, and included the following information:

          a. The Facebook Account is in LOGANBILL’s true name, and has numerous pictures

              of him, including images provided by CW-1; the account is further linked to one of

              LOGANBILL’s known email address, contains information about his businesses,



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     and identifies as being from the town as LOGANBILL. Thus your affiant believes

     the Facebook Account is owned and controlled by LOGANBILL.

  b. The Facebook account contained also numerous statements and comments by

     LOGANBILL to others about his participation in and planning to travel to

     Washington, D.C. for the “Stop the Steal” rally on January 6, 2021. The account

     contains an image of a road map plotting a path from his location in Missouri to

     Washington, D.C.

  c. LOGANBILL’s motivation appears in several discussions from the Facebook

     Account prior to January 6, 2021, in which LOGANBILL made numerous

     statements evidencing his opinion that the 2020 Presidential Election had been

     stolen, and that he wanted to do something about it. For example, on January 4,

     2021, LOGANBILL commented, “President Trump has been right on just about

     everything he said. . . . So when he says the election was rigged I’ll bet my life on

     him being right . . . 74 million strong sir, we got your back” (ellipses in original).

     On January 2, 2021, LOGANBILL posted another comment, “Thinking about

     heading to DC for the Stop the Steal rally.” LOGANBILL also indicated a desire to

     use violence prior to January 6, 2021. For example, on December 19, 2020,

     LOGANBILL commented “They haven’t seen a riot, til our side gets started”

     (emphasis added.) On December 16, 2020, LOGANBILL sent Facebook comments

     directed to two members of the U.S. Senate, telling them that:

        We have witnessed the destruction of the very fiber of our freedom, the election
        process. Well over half of the American people no longer accept that we can
        have a fair election. We have also watched the complacency of our judicial
        system in action. If you do not possess the courage to fight against the evil that
        is destroying our once great nation so be it. . . . The American people are
        becoming desperate for truth and morality. Politicians who don’t represent that


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        and act for the hearts of the true Americans will be held accountable.
        Complacency is not an option.

  d. LOGANBILL’s posted additional comments on his Facebook Account about his

     activities while he was at the Capitol on January 6, 2021, and afterward. On January

     6, 2021, LOGANBILL commented in response to a question in a post about whether

     he got into the U.S. Capitol, at approximately 4:56 pm EST, “Everything was fine

     all the way to the Capitol, we were near the front. I didn’t see any push against the

     police line until after 8-10 tear gas canisters were fired into the crowed. Then we

     pushed forward and broke the line into the Capitol.           Inside the Capitol was

     confrontational, but no Patriots hit any police that I was, they sprayed us down

     several times” (emphasis added).         In another post on January 6, 2021, at

     approximately 8:00 PM EST, LOGANBILL replied to a comment on his page and

     stated, “Shoving is not violence, I have no idea what fading is (in this context). There

     was several antifa/blew who did – they ever claimed it. They also probably did the

     stabbing, The shooting was the police, we were close by when it happened having a

     discussion with the police heard it all over his radio. Were you there? Was

     whoever’s reporting it there? No, there was no press anywhere inside the Capitol at

     that time” (emphasis added). On January 8, 2021, LOGANBILL responded to a

     comment on his Facebook Account in an apparent justification for his actions:

     “when there are 2, maybe 3, ‘levels’ of who the law apply’s to – if at all. When the

     SCOTUS refuses to even hear grievances between states (their most basic job), when

     states don’t follow their own Constitutions and allow un-elected bureaucrats to write

     sweeping edicts that effects peoples basic rights. Yes, yes, they no longer matter.”




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  e. After widespread press accounts depicting the violence at the Capitol, on January 7,

     2021, LOGANBILL made the following comment on his Facebook Account, “WHY

     were they lying on the floor? None of the Patriots had guns, if they would have had

     anything, it would have been a striking weapon –wouldn't you want to be on your

     feet and MOBILE ? ?�� ♂ I'm just a dumb "terrorist" I guess.” Your affiant

     understands that LOGANBILL’s reference to persons lying on the floor was

     referring to members of Congress who were sheltering in place during the riot. On

     that same day, LOGANBILL further commented on his Facebook Account, “The

     ‘widespread destruction’ is total BS, there were a few , most likely antifa, that busted

     some windows, the rest were there to show that "we" could take what we wanted

     peacefully. And we did, afterwards we also walked out peacefully. Some cops just a

     bit belligerent and they got less cooperation, but no punches thrown or fighting of

     any kind that I saw” (emphasis added.) On January 7, 2021, LOGANBILL also

     commented on his Facebook account, “They saw how easy we took the Capitol-

     unarmed and peacefully, next time . . . .”

  f. On January 8, 2021, LOGANBILL sent a message to another Facebook user from

     the Facebook Account and stated, “I was in there for 30-45 minutes, the

     confrontations were verbal only, and in every instance but 1 - the entrance to the

     house chamber- the LEO, either stepped aside, or backed up, letting us in. Granted

     it's a huge building, but the only damage I saw was a LEO busted a window with his

     asp, while closing a door.” On the same date he commented on his Facebook

     Account, “Other than the senate chamber, the officers stepped aside and let everyone




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               in. Even then, there were already many inside the chamber, I don’t know where they

               gained access from.”

           g. In another comment on the Facebook Account, on January 15, 2021, in response to

               a Facebook user who criticized LOGANBILL’s role in the riot, LOGANBILL

               stated, “And even by your admission the Patriots were not armed. Surprising what a

               few Real men (and some old ladies) can do without burning one building, without

               looting one store, with nearly zero damage (that was your side) to the Capitol. You

               soy boys 6 could take note.” On January 16, 2021, LOGANBILL further commented

               on the Facebook Account, “There was very little damage done, (again the

               BLM/antifa agitators) the cops stepped aside and let everyone in, there was no

               looting, and the vast majority left peacefully when asked, just as they did coming

               in,” and “Didn’t see any violence whatsoever, there were some suspiciously dressed

               individuals, and some who were grabbed and pushed out by patriots, actually one of

               my buddies sent 2 soy boys away.”

           h. On January 6, 2021, LOGANBILL also posted numerous photographs and video

               from the Capitol. These images included material provided by CW-2 (Images 3 and

               4). Other photographs recovered from the Facebook Account include:




       6
         Your affiant understands the term “soy boy” to be a derogatory term used by certain people
to denigrate individuals they perceive as lacking masculine characteristics (because they drink soy
milk instead of cow milk).

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                      Image (5)                                  Image (6)

Your affiant believes that Image (5) appears to be a photograph of LOGANBILL unmasked outside

the U.S. Capitol, and that Image (6) depicts LOGANBILL wearing a gas mask inside the U.S.

Capitol and outside Capitol building.

        20.    Your affiant has also reviewed body worn camera footage from officers inside the

U.S. Capitol and surveillance video inside the U.S. Capitol on January 6, 2021. Your affiant has

located footage of law enforcement officers inside the U.S. Capitol Rotunda showing

LOGANBILL and other persons being directed to leave the U.S. Capitol area. Still images from

the video can be seen in Images (7) and (8).




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                             Image (7)




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                                                (Image 8)

In one instance depicted on the video, law enforcement officers are moving inside the U.S. Capitol

Building, in the Rotunda area, and are actively directing rioters to leave the area. During that effort,

one uniformed law enforcement officer personally directed LOGANBILL, “You gotta go.” During

this encounter other protestors next to LOGANBILL are yelling and cursing at police for making

them leave. Even though there are other people leaving the area through one of the entry ways,

LOGANBILL responded to the officer “They won’t let us go that way,” and he did not leave the

area until he is physically pushed on the arm by one of the officers, after which time he left the

Rotunda area.

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                                        CONCLUSION

       21.     Based on the foregoing, your affiant believes there is probably cause to believe that

on or about January 6, 2021, LOGANBILL, as a principal and an aider and abettor, violated several

criminal statutes.


       22.     First, your affiant submits there is probable cause to believe that LOGANBILL

violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede any

official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are

official proceedings, and the counting of the electoral votes was such a proceeding.

       23.       Second, your affiant submits that there is probable cause to believe violated 18

U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any

restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent

to impede or disrupt the orderly conduct of Government business or official functions, engage in

disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds

when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government

business or official functions.

       24.     Finally, your affiant submits there is also probable cause to believe that

LOGANBILL violated 40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly

(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at

any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or

disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly

conduct in that building of a hearing before, or any deliberations of, a committee of Congress or

either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




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I respectfully request that the court issue an arrest warrant for LOGANBILL. The statements

above are true and accurate to the best of my knowledge and belief.


                                             ___________________________________
                                             SPECIAL AGENT MICHAEL D. BROWN
                                             FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 16th day of March, 2021.



                                             ___________________________________
                                             ROBIN M. MERIWEATHER
                                             UNITED STATES MAGISTRATE JUDGE




                                                19
